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 1                      DECLARATION OF AUSA ANDREW BROWN
 2         I, Andrew Brown, declare as follows:
 3         1.     I am the Criminal Assistant United States Attorney assigned to the
 4   investigation around U.S. Private Vaults (“USPV”).
 5         2.     I have attached a copy of the indictment against USPV hereto as Exhibit A.
 6         3.     I sought and obtained a sealed federal seizure warrant for certain business
 7   equipment at U.S. Private Vaults including the nests of safety deposit boxes there. The
 8   sealing order for the warrant permitted the executing agents to serve it, as they were
 9   obliged to do.
10         4.     I requested and obtained an order permitting the unsealing of the seizure
11   warrant and one paragraph of the warrant application, and a copy of the seizure warrant
12   and one paragraph of the warrant application is attached hereto as Exhibit B. As set
13   forth therein, the affidavit in support of the warrant and the warrant itself discussed the
14   agents inventorying the property contained in the individual safety deposit boxes within
15   the nests, in accordance with the written inventory policies of the seizing agency, here
16   the FBI. They also discussed looking for contact information for the boxholders to
17   notify them of the seizure so that they could seek the return of their property.
18         I declare under penalty of perjury under the laws of the United States of America
19   that the foregoing is true and correct and that this declaration is executed at Los Angeles,
20   California, on May 27, 2021.
21                                                                 /s/   ___________
                                                                ANDREW BROWN
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